                                  Case 6:23-bk-04165                Doc 1       Filed 10/06/23           Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Burdock and Associates, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Burdock Group
     Include any assumed          DBA Burdock Group Consultants
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  859 Outer Road
                                  Orlando, FL 32814
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.burdockgroup.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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                                   Case 6:23-bk-04165                   Doc 1       Filed 10/06/23            Page 2 of 12
Debtor    Burdock and Associates, Inc.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Burdock and Associates, Inc.                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Burdock and Associates, Inc.                                                Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Fill in this information to identify the case:

Debtor name      Burdock and Associates, Inc.

United States Bankruptcy Court for the :   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                           D Ct,eck if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       □       Schedule AIB: Assets-Rea/ and Personal Property (Official Form 206A/B)
       □       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)
       □       Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       □       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       □       Schedule H: Codebtors (Official Form 206H)
       D       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       D       Amended Schedule
       ■       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       D       Other document that requires a declaration




       Executed on       October 6, 2023                X



                                                            George A. Burdock
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Burdock and Associates, Inc.
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                      Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Advanced                                            Trade debt.                                                                                                     $477.30
Document Solutions
4119 Browns Lane,
Bldg 4
Louisville, KY 40220
AFLAC                                               Trade debt /                                                                                                    $451.62
1932 Wynnton Road                                   insurance
Columbus, GA
31999
American Express                                    Credit Card                                                                                                 $24,834.72
P.O. Box 650448
Dallas, TX
75265-0448
CMIT Solutions                                      Trade debt                                                                                                    $1,790.11
7512 Dr. Phillips
Blvd.
Suite 50-926
Orlando, FL 32819
Duane Morris, LLP                                   Trade debt                                                                                                $277,941.35
Attn: Payment
Processing
P.O. Box 787166
Philadelphia, PA
19178-7166
Elsevier B.V.                                       Trade debt                                                                                                  $12,859.00
P.O. Box 7247-8455
Philadelphia, PA
19170-8455
Florida Blue BCBS                                   Trade debt /                                                                                                  $4,162.60
PO Box 660299                                       insurance
San Antonio, TX
78266-0299
Hartford Insurance                                  Trade debt /                                                                                                    $777.63
200 Colonial Pkwy,                                  insurance
Ste. 500
Lake Mary, FL 32746



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                 Case 6:23-bk-04165                  Doc 1         Filed 10/06/23                Page 8 of 12



Debtor     Burdock and Associates, Inc.                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Institute of Food                                   Trade debt                                                                                                    $3,225.00
Tech.
97478 Eagle Way
Chicago, IL
60678-9740
John Bauer, Ph.D.                                   Trade debt                                                                                                    $5,000.00
2805 Hartwick Circle
Longmont, CO
80503
KM Paradise                                         Trade debt                                                                                                      $479.25
Solution LLC
10630 Inside Loop
Orlando, FL 32825
Liberty Mutual                                      Trade debt /                                                                                                    $702.08
Insurance                                           insurance
P.O. Box 188025
Fairfield, OH
45018-8025
New Lane Finance                                    Trade debt                                                                                                      $298.00
123 S. Broad St.,
17th Floor
Philadelphia, PA
19109
Paydirt Gold                                        Legal Action /            Contingent                                                                    $1,500,000.00
Company, LLC                                        Breach of                 Disputed
c/o Thomas P.                                       Contract
Carter, Esq.
904 Manhattan Ave.
2nd Floor, Suite 5
Manhattan Beach,
CA 90266
Rehmann, LLC                                        Trade debt                                                                                                  $12,180.00
5800 Gratiot Rd.,
Ste. 201
Saginaw, MI 48638
Salvitas                                            Trade debt / real                                                                                           $15,091.67
Development, LLC                                    property lease
859 Outer Road                                      payment(s)
Orlando, FL 32814
Spectrum                                            Trade debt                                                                                                      $329.98
400 Atlantic Street
Stamford, CT 06901
State Farm                                          Trade debt /                                                                                                    $779.50
Insurance Co.                                       insurance
Attn: Jim Ackerman,
CLU
P.O. Box 588002
North Metro, GA
30029-8002




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Burdock and Associates, Inc.                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Supply Side West                                    Trade debt                                                                                                    $4,450.00
Informa Exhibitions
P.O. Box 419018
Boston, MA
02241-9018
Thomas J. Rosol,                                    Trade debt                                                                                                    $5,000.00
Ph.D.
703 Olde Settler
Place
Columbus, OH
43214




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    Burdock and Associates, Inc.                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                 LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case


Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
George A. Burdock, PhD                                      n/a                   100%                                       Member
1140 Kenwoocl Avenue
Winter Park, FL 32789


DECLARATION UNDER PENAL TY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date     October 6, 2023                                                 Signature      ~     rge     Burdock
                                                                                                                 If{#'Mc___
                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   Burdock and Associates, Inc.                                                             Case No.
                                                                     Debtor(s)                    Chapter    _1_1_ _ _ _ _ _ _ __




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     October 6, 2023

                                                         Signer/Title
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Burdock and Associates, Inc.             Florida Blue BCBS                    Orange County Tax Collector
859 Outer Road                           PO Box 660299                        301 S Robinson Avenue
Orlando, FL 32814                        San Antonio, TX 78266-0299           Orlando, FL 32801




R.Scott Shuker, Esq                      George A. Burdock, PhD               Paydirt Gold Company, LLC
Shuker & Dorris, P.A.                    1140 Kenwood Avenue                  c/o Thomas P. Carter, Esq.
121 S. Orange Avenue                     Winter Park, FL 32789                904 Manhattan Ave.
Suite 1120                                                                    2nd Floor, Suite 5
Orlando, FL 32801                                                             Manhattan Beach, CA 90266

Advanced Document Solutions              Hartford Insurance                   Rehmann, LLC
4119 Browns Lane, Bldg 4                 200 Colonial Pkwy, Ste. 500          5800 Gratiot Rd., Ste. 201
Louisville, KY 40220                     Lake Mary, FL 32746                  Saginaw, MI 48638




AFLAC                                    Institute of Food Tech.              Salvitas Development, LLC
1932 Wynnton Road                        97478 Eagle Way                      859 Outer Road
Columbus, GA 31999                       Chicago, IL 60678-9740               Orlando, FL 32814




American Express                         Internal Revenue Service             Spectrum
P.O. Box 650448                          Centralized Insolvency Ops           400 Atlantic Street
Dallas, TX 75265-0448                    PO Box 7346                          Stamford, CT 06901
                                         Philadelphia, PA 19101-7346



Bank of America                          John Bauer, Ph.D.                    Spectrum VOIP
P.O. Box 17237                           2805 Hartwick Circle                 P.O. Box 733619
Wilmington, DE 19886-7237                Longmont, CO 80503                   Dallas, TX 75373-3619




CMIT Solutions                           KM Paradise Solution LLC             State Farm Insurance Co.
7512 Dr. Phillips Blvd.                  10630 Inside Loop                    Attn: Jim Ackerman, CLU
Suite 50-926                             Orlando, FL 32825                    P.O. Box 588002
Orlando, FL 32819                                                             North Metro, GA 30029-8002



Duane Morris, LLP                        Liberty Mutual Insurance             Supply Side West
Attn: Payment Processing                 P.O. Box 188025                      Informa Exhibitions
P.O. Box 787166                          Fairfield, OH 45018-8025             P.O. Box 419018
Philadelphia, PA 19178-7166                                                   Boston, MA 02241-9018



Elsevier B.V.                            New Lane Finance                     Thomas J. Rosol, Ph.D.
P.O. Box 7247-8455                       123 S. Broad St., 17th Floor         703 Olde Settler Place
Philadelphia, PA 19170-8455              Philadelphia, PA 19109               Columbus, OH 43214
